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  Real Property Data Search

  Search Result for BALTIMORE CITY
                      View GroundRent Redemption                                             View GroundRent Regi tration

    Special Tax Recapture: None
  Account Identifier:

  Owner Name:                                WIMBISH RHONDA L                           Use:                               RESIDENTIAL
                                                                                        Principal Residence:               YES
  Mailing Address:                           3514 WHITE CHAPEL ROAD                 Deed Reference:                        /08350/ 00194
                                             BALTIMORE MD 21215-7332
                                                   Location & Structure Information
  Premi e Addre                              3514 WHITE CHAPEL ROAD                 Legal De cription                      32X118
                                             BALTIMORE 21215-7332
    Map:      Grid:   Parcel:    Neighborhood:       Subdivision:      Section:     Block:     Lot:     Assessment Year:          Plat No:
                                                                       23           3118A      031      2020                      Plat Ref:

    Town None


    Primary Structure Built       Above Grade Living Area           Finished Basement Area            Property Land Area       County Use
    1939                          1,418 SF                          300 SF                                                     11120

   Stories     Basement     Type         Exterior    Quality     Full/Half Bath    Garage            Last Notice of Major Improvements
   2           YES          END UNIT     BRICK/      3           1 full/ 1 half    1 Detached
                                                               Value Information
                                        Base Value                  Value                     Phase-in Assessments
                                                                    As of                     As of               As of
                                                                    01/01/2020                07/01/2020          07/01/2021
   Land:                                30,000                      30,000
   Improvement                          104,500                     110,900
   Total:                               134,500                     140,900                   136,633                   138,767
   Preferential Land:                   0                           0
                                                            Transfer Information
    Seller: HERBERT, JOSEPH E                             Date: 09/19/2006                                     Price: $169,000
    Type: ARMS LENGTH IMPROVED                            Deed1: FMC /08350/ 00194                             Deed2:

    Seller                                                Date                                                 Price
    Type:                                                 Deed1:                                               Deed2:

    Seller:                                               Date:                                                Price:
    Type                                                  Deed1                                                Deed2
                                                           Exemption Information
  Partial Exempt Assessments:                Class                                      07/01/2020                         07/01/2021
  County:                                    000                                        0.00
  State:                                     000                                        0 00
  Municipal                                  000                                        0.00|0.00                          0.00|0.00
    Special Tax Recapture: None
                                             Home tead Application Information
  Homestead Application Status: Approved 05/13/2008
                                         Homeowners' Tax Credit Application Information
  Homeowners' Tax Credit Application Status: No Application                     Date:




                                                                                                                                              1/1
